Case:17-03283-LTS Doc#:23086-1 Filed:12/16/22 Entered:12/16/22 15:07:26   Desc:
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Case:17-03283-LTS Doc#:23086-1 Filed:12/16/22 Entered:12/16/22 15:07:26   Desc:
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Case:17-03283-LTS Doc#:23086-1 Filed:12/16/22 Entered:12/16/22 15:07:26   Desc:
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Case:17-03283-LTS Doc#:23086-1 Filed:12/16/22 Entered:12/16/22 15:07:26   Desc:
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Case:17-03283-LTS Doc#:23086-1 Filed:12/16/22 Entered:12/16/22 15:07:26   Desc:
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Case:17-03283-LTS Doc#:23086-1 Filed:12/16/22 Entered:12/16/22 15:07:26   Desc:
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Case:17-03283-LTS Doc#:23086-1 Filed:12/16/22 Entered:12/16/22 15:07:26   Desc:
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Case:17-03283-LTS Doc#:23086-1 Filed:12/16/22 Entered:12/16/22 15:07:26   Desc:
                           Exhibit Page 18 of 18
